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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

FAOUZI ABDUL-MENHEM JABER,

                                Plaintiff,

                    -against-
                                                                20-CV-7347 (LLS)
CHRISTINA HANLEY; ANDREA LEE
                                                                CIVIL JUDGMENT
SURRATT; COLLEEN MCMAHON;
SABRINA P. SHROFF; ALEXI MARC
SCHACHT; GEORGE TURNER,

                                Defendants.

         Pursuant to the order issued December 2, 2020, dismissing the amended complaint,

         IT IS ORDERED, ADJUDGED AND DECREED that the amended complaint is

dismissed under 28 U.S.C. § 1915(e)(2)(B)(ii)-(iii).

         The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from the Court’s

judgment would not be taken in good faith.

         IT IS FURTHER ORDERED that the Clerk of Court mail a copy of this judgment to

Plaintiff and note service on the docket.

SO ORDERED.

Dated:     January 5, 2021
           New York, New York

                                                               Louis L. Stanton
                                                                  U.S.D.J.
